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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE W ESTERN DISTRICT OF W ISCONSIN
_____________________________________________________________________________________

UNITED STATES OF AMERICA,

                                   Plaintiff,                           ORDER
      v.
                                                                     11-cr-21-bbc
SANG T. DANH,
                                 Defendant.
______________________________________________________________________________________

      The trial date in this case has been moved at the request of the parties. Therefore,

      IT IS ORDERED that all witness subpoenas are AM ENDED to command appearance for

testimony at trial on TUESDAY, SEPTEM BER 6, 2011 at 9:00 a.m.



      Entered this 27 th day of June, 2011.

                                              BY THE COURT:

                                              /s/

                                              STEPHEN L. CROCKER
                                              M agistrate Judge
